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     COMPLAINT, Case No.                            Page 1
 1                               UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
 3
 4    JAMAL RASHID TRULOVE,                         Case No.
 5           Plaintiff,
 6                    vs.                           COMPLAINT
 7    THE CITY AND COUNTY OF SAN                    AND
 8    FRANCISCO, ETC., MAUREEN D’AMICO,             DEMAND FOR JURY TRIAL
 9    MICHAEL JOHNSON, ROBERT MCMILLAN,
10    MICHAEL ANDROVICH, FRANCIS HAGEN,
11    CARLA LEE, KEVIN NOBLE, SHAWN
12    PHILLIPS, ANTHONY RAVANO, JAMES
13    TRAIL, JAMES AHERNE, ROBERT
14    DANIELE, JENNIFER JACKSON, DANIEL
15    SILVER, DONNA MEIXNER, JOHN F.
16    MURPHY, MICHAEL STASKO, and
17    STEPHEN TITTEL, and JOHN DOE
18    OFFICERS 1-10, in their individual
19    capacities,
20           Defendants
21
22          Plaintiff JAMAL RASHID TRULOVE, by and through his attorneys, the law firms of
23   Neufeld, Scheck & Brustin, LLP, and the Law Office of Chatfield and Reisman, hereby alleges
24   as follows:
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     COMPLAINT, Case No.                                                                 Page 2
 1                                       INTRODUCTION
 2       1. Plaintiff Jamal Rashid Trulove was sentenced to 50 years to life in prison and spent
 3          over six years imprisoned for a crime that he did not commit—the July 2007
 4          murder of Seu Kuka.
 5       2. Mr. Trulove’s wrongful conviction was the result of serious misconduct by the San
 6          Francisco Police Department (SFPD) officers investigating the Kuka shooting.
 7          SFPD Defendants manipulated an eyewitness, Priscilla Lualemaga, into
 8          misidentifying Mr. Trulove as the shooter. Defendants then hid the blatantly
 9          improper means they had used to obtain the misidentification, which was only
10          uncovered through a remarkable coincidence after Mr. Trulove’s wrongful
11          conviction.
12       3. No physical or forensic evidence ever inculpated Mr. Trulove. Because Mr. Trulove
13          always said—truthfully—that he was innocent, no statements implicated him,
14          either. The sole evidence incriminating him was the misidentification unlawfully
15          procured by the SFPD Defendants.
16       4. Even before Defendants’ most blatant misconduct was revealed, it was clear Ms.
17          Lualemaga was, at best, a questionable witness. Although Ms. Lualemaga testified
18          at the time of trial that she was certain in her identification of Mr. Trulove, she had
19          initially failed to identify him, and had been paid over $60,000 in living expenses
20          in exchange for her testimony. What the jury that convicted Mr. Trulove did not
21          know, however—because Defendants hid it—was that Defendants had directly
22          suggested to Ms. Lualemaga that she should identify Mr. Trulove.
23       5. Mr. Trulove’s conviction was reversed on direct appeal by the California Court of
24          Appeals. After retrial, Mr. Trulove was acquitted in March, 2015. He had by then
25          spent over six years incarcerated for a crime he did not commit.
26       6. At the time of his wrongful arrest, Mr. Trulove was a young father. He was also an
27          aspiring actor and hip hop performer who had recently appeared on the national
28

     COMPLAINT, Case No.                                                                    Page 3
 1          television program I Love New York 2. As a result of his wrongful conviction and
 2          six years of wrongful imprisonment, he was torn away from his family and his
 3          budding acting and musical career.
 4
 5                                         JURISDICTION
 6       7. This Court has federal question jurisdiction, pursuant to 28 U.S.C. § 1331, over the
 7          claims arising out of violations of the United States Constitution.
 8       8. Jurisdiction is conferred by 28 U.S.C. § 1343, which provides for original
 9          jurisdiction of this Court in suits authorized under 42 U.S.C. § 1983 to redress the
10          deprivation (under color of state law, statute, ordinance, regulation, custom, or
11          usage) of any right, privilege, or immunity secured by the Constitution of the
12          United States or by any act of Congress providing for equal rights of citizens of all
13          persons within the jurisdiction of the United States.
14       9. This Court has supplemental jurisdiction over Plaintiff’s pendent state law claims
15          pursuant to 28 U.S.C. § 1367 (a).
16
17                                                VENUE
18       10. Pursuant to 28 U.S.C. § 1391(b), venue is proper in the Northern District of
19          California, the judicial district in which the claims arose and in which the
20          Defendants conducted business.
21                                               PARTIES
22       11. Plaintiff JAMAL RASHID TRULOVE is, and at all times relevant herein was, an
23          individual residing in the State of California.
24       12. Defendant CITY AND COUNTY OF SAN FRANCISCO is, and at all times relevant
25          herein was, a public entity existing in the state of California. At all times relevant to
26          this action, the San Francisco Police Department is and was a part of the City and
27          County of San Francisco.
28

     COMPLAINT, Case No.                                                                     Page 4
 1       13. Upon information and belief, Defendant Inspector Maureen D’Amico is a resident
 2          of the State of California and of this judicial district. At all relevant times herein,
 3          D’Amico was a duly appointed and acting supervisor in the SFPD acting under
 4          color of law and in her individual capacity within the scope of employment
 5          pursuant to the statutes, ordinances, regulations, policies, customs, and usage of
 6          the City and County of San Francisco and the State of California.
 7       14. Upon information and belief, Defendant Inspector Michael Johnson is a resident of
 8          the State of California and of this judicial district. At all relevant times herein,
 9          Johnson was a duly appointed and acting supervisor in the SFPD acting under
10          color of law and in his individual capacity within the scope of employment
11          pursuant to the statutes, ordinances, regulations, policies, customs, and usage of
12          the City and County of San Francisco and the State of California.
13       15. Upon information and belief, Defendant Inspector Robert McMillan is a resident of
14          the State of California and of this judicial district. At all relevant times herein,
15          McMillan was a SFPD Officer acting under color of law and in his individual
16          capacity within the scope of employment pursuant to the statutes, ordinances,
17          regulations, policies, customs, and usage of the City and County of San Francisco
18          and the State of California.
19       16. Upon information and belief, Defendant Officer Michael Androvich is a resident of
20          the State of California and of this judicial district. At all relevant times herein,
21          Androvich was a SFPD Officer acting under color of law and in his individual
22          capacity within the scope of employment pursuant to the statutes, ordinances,
23          regulations, policies, customs, and usage of the City and County of San Francisco
24          and the State of California.
25       17. Upon information and belief, Defendant Officer Francis J. Hagen is a resident of the
26          State of California and of this judicial district. At all relevant times herein, Hagen
27          was a SFPD Officer acting under color of law and in his individual capacity within
28

     COMPLAINT, Case No.                                                                       Page 5
 1          the scope of employment pursuant to the statutes, ordinances, regulations,
 2          policies, customs, and usage of the City and County of San Francisco and the State
 3          of California.
 4       18. Upon information and belief, Defendant Officer Carla Lee is a resident of the State
 5          of California and of this judicial district. At all relevant times herein, Lee was a
 6          SFPD Officer acting under color of law and in her individual capacity within the
 7          scope of employment pursuant to the statutes, ordinances, regulations, policies,
 8          customs, and usage of the City and County of San Francisco and the State of
 9          California.
10       19. Upon information and belief, Defendant Officer Kevin Noble is a resident of the
11          State of California and of this judicial district. At all relevant times herein, Noble
12          was a SFPD Officer acting under color of law and in his individual capacity within
13          the scope of employment pursuant to the statutes, ordinances, regulations,
14          policies, customs, and usage of the City and County of San Francisco and the State
15          of California.
16       20. Upon information and belief, Defendant Officer Shawn Phillips is a resident of the
17          State of California and of this judicial district. At all relevant times herein, Philips
18          was a SFPD Officer acting under color of law and in his individual capacity within
19          the scope of employment pursuant to the statutes, ordinances, regulations,
20          policies, customs, and usage of the City and County of San Francisco and the State
21          of California.
22       21. Upon information and belief, Defendant Officer Anthony Ravano is a resident of
23          the State of California and of this judicial district. At all relevant times herein,
24          Ravano was a SFPD Officer acting under color of law and in his individual capacity
25          within the scope of employment pursuant to the statutes, ordinances, regulations,
26          policies, customs, and usage of the City and County of San Francisco and the State
27          of California.
28

     COMPLAINT, Case No.                                                                       Page 6
 1       22. Upon information and belief, Defendant Officer James Trail is a resident of the
 2          State of California and of this judicial district. At all relevant times herein, Trail
 3          was a SFPD Officer acting under color of law and in his individual capacity within
 4          the scope of employment pursuant to the statutes, ordinances, regulations,
 5          policies, customs, and usage of the City and County of San Francisco and the State
 6          of California.
 7       23. Upon information and belief, Defendant Sergeant James Aherne is a resident of the
 8          State of California and of this judicial district. At all relevant times herein, Aherne
 9          was a SFPD Officer acting under color of law and in his individual capacity within
10          the scope of employment pursuant to the statutes, ordinances, regulations,
11          policies, customs, and usage of the City and County of San Francisco and the State
12          of California.
13       24. Upon information and belief, Defendant Sergeant Robert G. Daniele is a resident of
14          the State of California and of this judicial district. At all relevant times herein,
15          Daniele was a SFPD Sergeant acting under color of law and in his individual
16          capacity within the scope of employment pursuant to the statutes, ordinances,
17          regulations, policies, customs, and usage of the City and County of San Francisco
18          and the State of California.
19       25. Upon information and belief, Defendant Sergeant Jennifer Jackson is a resident of
20          the State of California and of this judicial district. At all relevant times herein,
21          Jackson was a SFPD Sergeant acting under color of law and in her individual
22          capacity within the scope of employment pursuant to the statutes, ordinances,
23          regulations, policies, customs, and usage of the City and County of San Francisco
24          and the State of California.
25       26. Upon information and belief, Defendant Officer Daniel Silver is a resident of the
26          State of California and of this judicial district. At all relevant times herein, Silver
27          was a SFPD Officer acting under color of law and in his individual capacity within
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     COMPLAINT, Case No.                                                                       Page 7
 1          the scope of employment pursuant to the statutes, ordinances, regulations,
 2          policies, customs, and usage of the City and County of San Francisco and the State
 3          of California.
 4       27. Upon information and belief, Defendant Lieutenant Donna J. Meixner was at all
 5          times relevant to this Complaint a duly appointed and acting supervisor in the
 6          SFPD, acting under color of law and in her individual capacity within the scope of
 7          employment pursuant to the statutes, ordinances, regulations, policies, customs,
 8          and usage of the City and County of San Francisco and the State of California.
 9       28. Upon information and belief, Defendant Lieutenant John F. Murphy was at all
10          times relevant to this Complaint a duly appointed and acting supervisor in the
11          SFPD, acting under color of law and in his individual capacity within the scope of
12          employment pursuant to the statutes, ordinances, regulations, policies, customs,
13          and usage of the City and County of San Francisco and the State of California.
14       29. Upon information and belief, Defendant Lieutenant Michael Stasko was at all times
15          relevant to this Complaint a duly appointed and acting supervisor in the SFPD,
16          acting under color of law and in his individual capacity within the scope of
17          employment pursuant to the statutes, ordinances, regulations, policies, customs,
18          and usage of the City and County of San Francisco and the State of California.
19       30. Upon information and belief, Defendant Captain Stephen M. Tittel was at all times
20          relevant to this Complaint a duly appointed and acting supervisor in the SFPD,
21          acting under color of law and in his individual capacity within the scope of
22          employment pursuant to the statutes, ordinances, regulations, policies, customs,
23          and usage of the City and County of San Francisco and the State of California.
24       31. Defendant Officer John Doe #1, whose actual name Plaintiff has been unable to
25          ascertain notwithstanding reasonable efforts to do so, but who is sued herein by
26          the fictitious designation “John Doe #1” is an white, male officer between 30 and
27          45 years old who was working at Ingleside Station on July 23-24, 2007 and
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     COMPLAINT, Case No.                                                                   Page 8
 1           participated in the misconduct described herein. John Doe #1 was at all times
 2           relevant to this Complaint a SFPD officer acting under color of law and in his
 3           individual capacity within the scope of employment pursuant to the statutes,
 4           ordinances, regulations, policies, customs, and usage of the City and County of San
 5           Francisco and the State of California. He is sued in his individual capacity.
 6       32. Defendant John Does 2–10, whose actual names Plaintiff has been unable to
 7           ascertain notwithstanding reasonable efforts to do so, but who are sued herein by
 8           the fictitious designations “John Doe”, represent those officers, detectives,
 9           supervisors, and/or other agents and employees of the SFPD, acting under color of
10           law and in their individual capacities within the scope of employment or agency
11           pursuant to the statutes, ordinances, regulations, policies, customs, and usage of
12           the City and County of San Francisco and the State of California, who participated
13           in the misconduct described herein. They are sued in their individual capacities.
14
15                                    FACTUAL ALLEGATIONS
16   Seu Kuka’s Homicide
17       33. Shortly before 11:00 p.m. on July 23, 2007, 28-year-old Seu Kuka was fatally shot
18           on a sidewalk in front of 140 Blythedale Avenue, in the Sunnydale Housing
19           Projects in San Francisco, California.
20       34. Plaintiff Jamal Trulove is innocent of this crime—he had nothing to do with the
21           murder of his friend, Seu Kuka.
22
23       Priscilla Lualemaga at Ingleside Station, July 23-24, 2007
24       35. Although there were as many as 25 people on the street at the time of the
25           shooting, most fled at the time of the gunshots. However, Priscilla Lualemaga, who
26           was standing in a second floor window at 140 Blythedale, uphill and to the west of
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 1          where Mr. Kuka was shot, came out from her apartment and told officers at the
 2          scene, including Officer Carla Lee, that she saw the shooting.
 3       36. Immediately after the murder, Ms. Lualemaga was brought to the Ingleside Police
 4          Station and waited in a room. She was told by Officer Lee to examine a bulletin
 5          board with 34 photographs on it, which she did.
 6       37. Ms. Lualemaga was looking at the bulletin board for over two hours while waiting
 7          to be interviewed by Inspectors Michael Johnson and Maureen D’Amico.
 8          Inspectors Johnson and D’Amico were the lead investigators of the Seu Kuka
 9          homicide. Pursuant to SFPD policies, practices and customs, Johnson and D’Amico
10          directed all aspects of the investigation or were informed of the results.
11       38. The bulletin board at Ingleside Police Station had mug shots of Jamal Trulove, his
12          younger brother, Joshua Bradley, and another brother, David Trulove. Mr. Trulove
13          and his brothers were African-American young men who were raised in the
14          Sunnydale Housing Projects. By virtue of this fact, according to the SFPD, they
15          were therefore suspected of being gang members. A “gang validation file” was
16          started on Mr. Trulove when he was 12 years old. In this first entry, Mr. Trulove
17          was detained along with his younger brothers, then 7 and 8 years old, after these
18          boys were in an argument on a basketball court. SFPD Officer Daniel Silver wrote
19          that because Mr. Trulove was with his younger brothers and his friends, this met
20          the San Francisco Police Department’s “criteria” for gang membership as Mr.
21          Trulove was “associating with future gang members.”
22       39. The mugs hot of Jamal Trulove on the bulletin board at Ingleside Police Station
23          was taken when he was arrested for his sole criminal conviction, a 2003 arrest for
24          a violation of California Penal Code § 496, subd. (a), receipt of stolen property.
25          Though Mr. Trulove successfully completed the sentence of probation he received
26          for this offense, Mr. Trulove’s photograph nevertheless remained on the Ingleside
27          Police Station bulletin board in July 2007.
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     COMPLAINT, Case No.                                                                  Page 10
 1       40. Joshua Bradley’s photograph on the Ingleside Police Station bulletin board was
 2          below the photograph of Mr. Trulove. Mr. Bradley had non-violent, juvenile
 3          matters, the last of which was a juvenile probation violation in March of 2005.
 4          Regardless, his photograph remained on the Ingleside Police Station bulletin
 5          board in July 2007.
 6       41. David Trulove’s photograph on the Ingleside Police Station bulletin board was to
 7          the left of the photograph of Jamal Trulove. David Trulove had an adult conviction
 8          in 2000 of theft and a 2001 burglary conviction. Six years after this second
 9          conviction, and despite the fact that he was not on probation and had not
10          committed any subsequent offense, his picture remained on the Ingleside Police
11          Station bulletin board in July 2007.
12       42. During the two hours that Ms. Lualemaga examined the bulletin board in the room
13          at Ingleside Police Station, she reported to police that she recognized several men
14          whose photographs were on the bulletin board. She later testified that she knew
15          David Trulove “from a long time ago.”
16       43. However, she never recognized, nor identified, Jamal Trulove at any time during
17          these two hours as someone who was involved in any way in Seu Kuka’s homicide.
18       44. At approximately 1:00am that night (the early morning hours of July 24, 2007),
19          Inspectors Johnson and D’Amico came to meet with Ms. Lualemaga. Ms. Lualemaga
20          was taken to an upstairs room in the station and interviewed by Inspectors
21          Johnson and D’Amico.
22       45. A portion of the interview was tape recorded. Upon information and belief,
23          Inspectors Johnson and D’Amico did not tape record their entire interview with
24          Ms. Lualemaga.
25       46. During the recorded portion of the interview, Ms. Lualemaga alternatively told
26          Inspectors Johnson and D’Amico that she had been staying at her grandmother’s
27          apartment for one week and that she had been living there for one year.
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     COMPLAINT, Case No.                                                                   Page 11
 1       47. Ms. Lualemaga then reported what she had seen, and was not able to see, from her
 2          second story window at 140 Blythedale Avenue. She reported that when she heard
 3          yelling, she looked out of her bedroom window. She saw Seu Kuka chasing a
 4          young African-American male downhill, from west to east. While chasing this man
 5          downhill, Mr. Kuka “smashed” into another African-American man who was in Mr.
 6          Kuka’s way. Because Mr. Kuka hit him so hard, the second man fell to the ground
 7          hard. Mr. Kuka continued running downhill, chasing the first man.
 8       48. Ms. Lualemaga stated that the man who had been knocked down was “wearing a
 9          black hooded sweater.” Ms. Lualemaga reported that this second man got up,
10          chased after Mr. Kuka, and shot Mr. Kuka at close range.
11       49. Ms. Lualemaga stated that this man was standing directly behind, to the west of,
12          and uphill from Mr. Kuka.
13       50. Ms. Lualemaga later testified that she never actually saw a gun in this second
14          man’s hands.
15       51. Ms. Lualemaga then stated that a photograph of the man that Mr. Kuka was
16          chasing—not the shooter—was on the bulletin board that she viewed. She also
17          wrote this in a statement that night.
18       52. Ms. Lualemaga then stated that she did not know the man who Mr. Kuka was
19          chasing. She told officers, “I don't know him at all. I don't even know his name.”
20       53. However, she said that she had read his name on the photograph. This person was
21          Joshua Bradley, whose photograph was immediately below Jamal Trulove’s on the
22          bulletin board.
23       54. As to the shooter, Ms. Lualemaga stated to Inspectors Johnson and D’Amico that
24          she “didn’t really get a good look at the shooter” as the fight and shooting
25          happened “so fast.”
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     COMPLAINT, Case No.                                                                   Page 12
 1        55. In response to a direct question from Inspector D’Amico: “Do these guys have any
 2            distinguishing, like a tattoo on their face1 that you can see or a piercing, or
 3            anything that would make them distinctive to us?” Ms. Lualemaga answered, “I
 4            can’t really tell. I can’t remember.”
 5        56. Inspector D’Amico then asked Ms. Lualemaga, “If, if we were able to identify the
 6            shooter and put his picture in a line-up for you do you think you’d be able to pick
 7            him out?” Ms. Lualemaga responded, “I think so.”
 8        57. Inspector Johnson next told Ms. Lualemaga that they could arrange to move her
 9            out of the neighborhood if she were a witness.
10        58. After the interview, Ms. Lualemaga then returned with Inspectors D’Amico and
11            Johnson to the bulletin board and pointed out Joshua Bradley’s photograph,
12            directly below Jamal Trulove’s photograph.
13        59. At this time, Ms. Lualemaga never identified Mr. Trulove’s picture as that of
14            someone involved in Mr. Kuka’s shooting, as someone who was present that night,
15            nor indicated in any way that she recognized him as associated with Joshua
16            Bradley.
17
18   Officer Lee and John Doe #1 directly suggest that Ms. Lualemaga identify Jamal Trulove as
19   the shooter, but are initially unsuccessful
20        60. Upon information and belief, there were numerous conversations between Ms.
21            Lualemaga and officers at Ingleside Station on July 23-24, 2007 which were never
22            documented or recorded.
23        61. One conversation happened to be witnessed by a 17-year-old boy, Oliver Barcenas.
24            This conversation, between Ms. Lualemaga, Officer Lee, and John Doe #1, was not
25
26
27   1 Jamal Trulove has, and had in July 2007, a large tattoo on his neck that reads “Cheryl

28   Trulove.”

     COMPLAINT, Case No.                                                                        Page 13
 1           documented or memorialized by San Francisco police officers or, if it was, was
 2           concealed.
 3        62. John Doe #1 was holding a clipboard and pointing to what seemed to be a
 4           photograph. As he pointed to the clipboard, this officer asked Ms. Lualemaga, “Are
 5           you sure it wasn’t Jamal Trulove?”
 6        63. Despite this direct pressure from Officer Lee and John Doe #1 to identify Jamal
 7           Trulove as the shooter, at that time Ms. Lualemaga responded “No, I don’t know.”
 8        64. John Doe #1 was visibly frustrated by Ms. Lualemaga’s refusal to identify Mr.
 9           Trulove at that time.
10        65. It would not be until three years later, after Jamal Trulove’s conviction, that this
11           conversation would be revealed.
12        66. Upon information and belief, SFPD officers, including Officers Lee and John Doe #1
13           and others, improperly suggested, pressured, and/or coerced Ms. Lualemaga to
14           identify Mr. Trulove as the shooter. These conversations did not happen to be
15           witnessed by neutral observers who would later have an opportunity to report it.
16        67. Upon information and belief, these conversations were made at the direction of
17           Inspectors D’Amico and Johnson and/or they were made aware that conversations
18           occurred.
19        68. Sometime in the early morning hours of July 24, 2007, Inspectors D’Amico and
20           Johnson drove Ms. Lualemaga to her home.
21
22   Officers visit Priscilla Lualemaga’s home on the evening of July 24, 2007
23        69. Inspector Johnson, Inspector McMillan, Officer Androvich, and Officer Trail went
24           to Ms. Lualemaga’s apartment building, 140 Blythedale Avenue, on July 24, 2007 at
25           approximately 5:00 p.m. Upon information and belief, Inspector D’Amico knew or
26           was made aware of this meeting.
27
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     COMPLAINT, Case No.                                                                     Page 14
 1        70. Upon information and belief, the officers continued to exert direct pressure on Ms.
 2           Lualemaga to identify Mr. Trulove as the shooter at this meeting.
 3        71. Any conversation had with Ms. Lualemaga was not disclosed.
 4
 5   The Computer Generated Line-Ups Created by Inspectors on July 25, 2007
 6        72. On July 25, 2007, Inspectors D’Amico and Johnson, using a computer database of
 7           mug shots, created four photographic line-ups.
 8        73. Photographic lineups generally contain six photographs of individuals: one
 9           suspect and five fillers.
10        74. Officer Johnson testified in 2015 that officers would create line-ups by calling up
11           the latest mugs hot of the suspect on a computer. The officer would then enter in
12           features of the suspect—skin tone, eye color, height—and the computer would
13           bring up photographs of fillers, people with similar features. The officer would
14           then review these suggested photographs and discard those photographs where a
15           filler has a distinguishing feature on a face, such as a bandage or tattoo, or when
16           the clothing between photographs is dissimilar.
17        75. Using this standard procedure, officers created four photographic line-ups of
18           Jamal Trulove, David Trulove, Israel Benson, and Joshua Bradley. According to
19           Inspector Johnson, these names and names of other people had been provided to
20           the homicide inspectors from Inspector Robert McMillan.
21
22   Inspectors D’Amico and Johnson hide exculpatory evidence and/or use improper
23   identification procedures to obtain a misidentification of Mr. Trulove from Ms. Lualemaga
24        76. Within two hours of creating these line-ups, on July 25, 2007, Inspectors D’Amico
25           and Johnson went to Ms. Lualemaga’s work. These officers had Ms. Lualemaga
26           speak to them in their car after driving a few blocks away from her work with her.
27
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     COMPLAINT, Case No.                                                                   Page 15
 1       77. In their car, the inspectors showed Ms. Lualemaga a different photographic line-up
 2          than the ones they created—they showed her a line-up of six photographs of all
 3          suspects for the Seu Kuka homicide. One of the six photographs was of Jamal
 4          Trulove. This photograph was the exact same photograph that was on the bulletin
 5          board that she did not recognize nor identify the previous day.
 6       78. The inspectors next audio recorded some portion of their conversation with Ms.
 7          Lualemaga. Upon information and belief, this conversation was not audio recorded
 8          in its entirety.
 9       79. In the portion of the conversation that was recorded, Inspector D’Amico read the
10          standard admonitions regarding line-ups. One of these admonitions, and perhaps
11          the most important one, tells the witness, “The person who you saw commit the
12          crimes may or may not be in this group of photographs.”
13       80. However, Ms. Lualemaga testified that before the inspectors met with Ms.
14          Lualemaga on July 25, 2007, they informed her that they had identified someone
15          as the shooter and would be showing her his photograph.
16       81. This was in addition to what Inspector D’Amico had stated at Ingleside Station on
17          July 24, 2007, “If, if we were able to identify the shooter and put his picture in a
18          line-up for you do you think you’d be able to pick him out?” These separate
19          statements to Ms. Lualemaga rendered the most important admonition
20          meaningless.
21       82. On July 25, 2007, Ms. Lualemaga did what San Francisco police officers had earlier
22          asked her to do. She picked out Jamal Trulove’s photograph—the same
23          photograph that she had been with for hours before on July 24, 2007 and had
24          failed to recognize or identify in any way—and said of Jamal’s photograph, “Um, he
25          looks like the person that could have shot Seu” and “the shooter, I want to say it’s
26          him.”
27
28

     COMPLAINT, Case No.                                                                   Page 16
 1        83. After this equivocal identification, Inspector D’Amico asked Ms. Lualemaga, “Did
 2           you see a photograph of Number 6 (Jamal) up on the board that you recognized?”
 3           Ms. Lualemaga replied, “No.”
 4        84. Upon information and belief, Inspectors D’Amico and Johnson were determined to
 5           get Ms. Lualemaga to identify Jamal Trulove. Either they showed Ms. Lualemaga
 6           the four photographic line-ups and, when Ms. Lualemaga failed to identify anyone
 7           in the line-ups as the individual who shot Seu Kuka, never disclosed the
 8           exculpatory results; or they deliberately chose not to use the four proper
 9           photographic line-ups, and instead showed Ms. Lualemaga an improper line-up of
10           all suspects, including a photograph of Mr. Trulove that she had seen before.
11        85. Either way, there was no attempt on the part of law enforcement to abide by any
12           proper identification procedures, such as double-blind line-ups in which the
13           person administering the line-up does not know who the suspect is; line-ups that
14           actually match the description of the person given by the witness; line-ups in
15           which the suspects actually match one another; or a line-up in which there is one
16           suspect and multiple fillers.
17
18   Officers search Mr. Trulove’s home, and find nothing connecting him to the Seu Kuka
19   homicide
20        86. Even with the officers’ improper assistance, Ms. Lualemaga’s identification of Mr.
21           Trulove as the shooter was, at best, equivocal and uncorroborated. Given this
22           unreliability, officers needed additional evidence to seek an arrest warrant.
23        87. In August of 2007, San Francisco police officers conducted a thorough search of
24           Joshua Bradley and Jamal Trulove’s home in Oakland. They found nothing there—
25           no gun, no ammunition, no gang indicia, no photographs of guns, and no
26           contraband of any sort. They found nothing connecting Mr. Trulove in any way to
27           Seu Kuka’s homicide.
28

     COMPLAINT, Case No.                                                                  Page 17
 1        88. With no evidence of any kind to corroborate Ms. Lualemaga’s identification of Mr.
 2           Trulove as the shooter, officers did not seek an arrest warrant.
 3
 4   With an unreliable identification and no evidence tying Mr. Trulove to the crime, officers
 5   directly suggest another misidentification of Mr. Trulove
 6        89. Nothing of note would happen in the case for approximately 10 months.
 7        90. On June 18, 2008, at approximately 5:30 p.m., San Francisco Police Officers Aherne
 8           and Hagen and Inspector McMillan of Gang Task Force were in the Hunter’s Point
 9           area of San Francisco and conducted a search of a car located near the center of
10           narcotics trafficking. Latisha Meadows-Dickerson was in the passenger seat of the
11           car.
12        91. Officers found cocaine and heroin in the car. Latisha Meadows-Dickerson stuffed a
13           loaded 9mm semi-automatic firearm into her pants when police arrived.
14        92. The gun had been reported stolen out of Fairfield, CA. Ms. Meadows-Dickerson
15           had two prior serious felonies, or “strikes”—a prior adult robbery conviction and a
16           juvenile robbery disposition.
17        93. Instead of charging Ms. Meadows-Dickerson with a crime, which would have been
18           her third “strike,” officers asked her if she had any information for them. Ms.
19           Meadows-Dickerson told them that she had seen Seu Kuka’s murder. After
20           speaking with officers, a portion of which was recorded, Ms. Meadows-Dickerson
21           was driven home by officers, uncharged.
22        94. In addition to Ms. Meadows-Dickerson’s obvious incentive to lie, her statement
23           was incredible on its face. In her recorded statement with Inspectors Johnson and
24           McMillan and Officer Hagen, Ms. Meadows-Dickerson says “Kamal” then “Jamal,”
25           shot and killed Mr. Kuka at around 5:00 or 6:00 p.m. one evening. Mr. Kuka was
26           actually shot at almost 11:00 pm on July 23, 2007.
27
28

     COMPLAINT, Case No.                                                                  Page 18
 1       95. Ms. Meadows-Dickerson told officers that when Mr. Kuka was killed “it was still
 2          light outside.” Inspector McMillan attempted to correct her, saying, “It was dark.
 3          Was it not? Was it dark?” Ms. Meadows-Dickerson then said that it was “twilight.”
 4       96. According to Ms. Meadows-Dickerson, Mr. Kuka and Jamal Trulove got in a fight in
 5          front of her building. This building was up the hill and across the street from 140
 6          Blythedale. Ms. Meadows-Dickerson’s unit was a substantial distance in from
 7          Blythedale Street.
 8       97. Ms. Meadows-Dickerson said that Mr. Kuka, a man named Tuma Vaovasa, and Mr.
 9          Trulove then walked across Blythedale Avenue and Mr. Trulove then shot Mr.
10          Kuka.
11       98. However, unknown to Ms. Meadows-Dickerson, Inspectors Johnson and D’Amico
12          had spoken to Mr. Vaovasa months before, on September 5, 2007 at Ingleside
13          Station. A recording of this conversation was never disclosed. In a brief note in
14          the Chronological of Investigation, Mr. Vaovasa says he was coming out of a
15          building across the street and up the block from where Mr. Kuka was killed. Mr.
16          Vaovasa told officers that from where he was—where Ms. Meadows Dickerson
17          claimed that she was also—he could not see the shooting. Mr. Vaovasa told
18          officers that he was a friend of Mr. Kuka and wanted to assist the investigation.
19       99. Ms. Meadows Dickerson said that Mr. Kuka punched Jamal in the face and then Mr.
20          Kuka, Jamal, and Mr. Vaovasa walked across the street. She stated that she heard
21          one shot and she saw Mr. Kuka get shot in the back of the head by Jamal Trulove.
22          Mr. Kuka was actually shot nine times.
23       100.    It was also impossible to see where Mr. Kuka was killed from where Ms.
24          Meadows-Dickerson claimed she was. Any officer who had been to the scene or
25          had spoken to Mr. Vamoose—including Inspectors Johnson and D’Amico—would
26          have known that Ms. Meadows-Dickerson’s account of viewing the homicide from
27          that location was impossible.
28

     COMPLAINT, Case No.                                                                 Page 19
 1        101.     Upon information and belief, officers engaged in suggestion to encourage Ms.
 2           Meadows-Dickerson’s identification of Mr. Trulove and attempted to alter her
 3           statement to better fit the known facts of the murder.
 4
 5   Officers rely on Ms. Lualemaga and Ms. Meadows-Dickerson’s obviously unreliable
 6   statements to get an arrest warrant.
 7        102.     Officers used Ms. Meadows-Dickerson’s statements, as well as Ms.
 8           Lualemaga’s statements, to finally apply for an arrest warrant for Jamal Trulove.
 9        103.     Approximately six weeks after Ms. Meadows-Dickerson’s statement was
10           obtained, on August 28, 2008, an arrest warrant was issued for Jamal Trulove for
11           Seu Kuka’s murder, based on the identifications made by Ms. Meadows-Dickerson
12           and Ms. Lualemaga.
13        104.     In the application for this arrest warrant, Inspector Johnson described
14           portions of Ms. Lualemaga’s statements to police officers and her identification of
15           Mr. Trulove on July 25, 2007.
16        105.     Inspector Johnson described Priscilla Lualemaga identifying Joshua Bradley
17           from the bulletin board that she had been asked to view for two hours and
18           brought the inspectors to see his photograph.
19        106.     However, Inspector Johnson completely failed to mention that this bulletin
20           board had a picture of Mr. Trulove on it, immediately above that of Mr. Bradley.
21        107.     Inspector Johnson failed to note that inspectors showed her the same
22           photograph of Jamal Trulove on July 25, 2007—the same photograph that was on
23           the bulletin board and that she had failed to identify, or indicated in any way she
24           had recognized on July 24, 2007.
25        108.     Inspector Johnson failed to note that from where Ms. Meadows-Dickerson
26           said she was, up the street, and halfway into a parking lot from Blythedale Avenue,
27           it was impossible to see Seu Kuka’s shooting.
28

     COMPLAINT, Case No.                                                                  Page 20
 1       109. Inspector Johnson wrote that Ms. Meadows-Dickerson stated that the homicide
 2             happened at “night (she thought it was early evening.)” Inspector Johnson did
 3             mention that the homicide occurred at 10:49 p.m., but failed to note that Ms.
 4             Meadows-Dickerson stated multiple times in her statement that it was still light
 5             out.
 6       110. Inspector Johnson failed to write that Ms. Meadows-Dickerson’s story about
 7             Tuma Vaovasa had been contradicted by Mr. Vaovasa himself, months earlier
 8             when he was interviewed by Inspectors Johnson and D’Amico.
 9       111. Ms. Meadows-Dickerson was never called to testify by the prosecution, at Mr.
10             Trulove’s preliminary hearing, first trial, or re-trial.
11
12      Payments to Priscilla Lualemaga
13       112. Priscilla Lualemaga, on whose testimony the prosecution rested their entire
14             case, was offered much by the state in exchange for her identification of Jamal
15             Trulove. This identification grew increasingly certain as she, and her family,
16             received tens of thousands of dollars in benefits.
17       113. On July 23, 2007, it was unclear how long Ms. Lualemaga had been living in her
18             grandmother’s small, two- bedroom apartment with six other people: her
19             grandmother, her sister, her sister’s boyfriend, her sister’s two children, and
20             Priscilla’s then-boyfriend.
21       114. In the course of her recorded statement on July 24, 2007, Ms. Lualemaga gave
22             various stories about how long she was there and the circumstances of her
23             living arrangement. She told inspectors that she had been there one week
24             housesitting and also that she had been there one year.
25       115. Under oath, during Jamal Trulove’s first trial she gave yet another version of her
26             living situation: that she was just staying at her grandmother’s during the work
27             week so she did not have to commute from South San Francisco. (South San
28

     COMPLAINT, Case No.                                                                 Page 21
 1             Francisco is approximately five miles from the Sunnydale Housing Projects, a
 2             ten-minute drive by car.)
 3       116. At Mr. Trulove’s second trial, in 2015, she testified that she was living at her
 4             grandmother’s home.
 5       117. What was clear was that Ms. Lualemaga was not on the Housing Authority lease
 6             and thus, could not legally reside there. Ms. Lualemaga was effectively
 7             homeless.
 8       118. What was also clear was that Ms. Lualemaga wanted to move from her present
 9             situation. One of the first things she said to inspectors was that she and her
10             boyfriend wanted to move out of the Sunnydale housing projects to the East
11             Bay.
12       119. In her recorded conversation on July 24, 2007, Inspector Johnson informed Ms.
13             Lualemaga that she could be moved if she were a witness.
14       120. Then, in May 2009, prior to her testimony at the preliminary hearing, she asked
15             for, and began to receive, all living expenses paid for her and her family.
16       121. This assistance continued for almost two years, until April 30, 2011.
17       122. From June 1, 2009 until April 30, 2011, Ms. Lualemaga and her immediate
18             family received $62,999.00 as payment for all living expenses.
19       123. Then, just prior to her testimony at Mr. Trulove’s trial, Ms. Lualemaga also
20             asked for benefits for her sister, a non-witness, and the prosecution paid almost
21             $10,000 in living expenses for her sister.
22       124. At each stage of the proceedings, Ms. Lualemaga’s statements and testimony
23             became increasingly certain.
24       125. On July 24, 2007, Ms. Lualemaga told officers that the shooter was in a black
25             hooded sweater and she did not get a good look at him because it happened “so
26             fast.”
27
28

     COMPLAINT, Case No.                                                                     Page 22
 1       126. On July 25, 2007—after an unrecorded phone call with officers, a conversation
 2             at her work, and possibly after a conversation the evening before at her
 3             grandmother’s home—when presented with the same photograph of Jamal
 4             Trulove that she had not identified on July 23-24, 2007, Ms. Lualemaga stated
 5             that Jamal Trulove, “looked like the guy that could have shot Seu.”
 6       127. On May 19, 2009, after starting to receive benefits, at Jamal Trulove’s
 7             preliminary hearing, Ms. Lualemaga positively identified Jamal Trulove as the
 8             shooter.
 9       128. On May 19, 2009, at Jamal Trulove’s preliminary hearing, Ms. Lualemaga
10             identified Jamal Trulove as the man outside her window and said he shot Seu,
11             but when asked twice, once by the prosecution and once by the defense, said
12             she could not remember if the shooter’s hood was up or down.
13       129. At the preliminary hearing, she testified that she could not remember whether
14             she had seen Jamal Trulove earlier on July 23, 2007.
15       130. By January 2010, after she had been receiving benefits for six months and after
16             her sister had also started to receive benefits, Ms. Lualemaga was “100%
17             certain” that Trulove was the shooter. By this point, she had “remembered”
18             that the shooter’s hood was down. She also remembered that she had seen
19             Jamal with Seu earlier in the day on July 23, 2007.
20       131. Officers explained every inconsistency in Priscilla Lualemaga’s statements and
21             testimony as having been caused by her fear. Ms. Lualemaga testified that she
22             did not tell police that Jamal Trulove was the shooter because she was afraid of
23             having to testify.
24       132. In fact, officers’ explanation of fear was only to hide their misconduct—directly
25             suggesting, coercing, and offering benefits to Ms. Lualemaga to obtain a false
26             identification of Mr. Trulove.
27
28

     COMPLAINT, Case No.                                                                  Page 23
 1   Conviction and Sentence
 2        133. On February 9, 2010, based on the identification by Ms. Lualemaga, and without
 3              knowledge of the direct suggestion used to procure it, Jamal Trulove was
 4              convicted of the first-degree murder of Seu Kuka; the use of a firearm
 5              enhancement was found true.
 6        134. On October 15, 2010, at his sentencing, Jamal Trulove addressed Seu Kuka’s
 7              family.
 8        135. Mr. Trulove said, “I know y’alls whole family. I was raised with Seu. Seu was
 9              one of my best friends. I fought this case. I fought this case in a matter of
10              innocence, because I know I didn’t do it. . . everybody that was out there from –
11              you know, Rosa, and all of them, they all know I didn’t do it.. . .Because me, Seu
12              not resting peacefully, if that’s what you guys wanted, for him to rest peacefully,
13              with somebody – with just anybody with a conviction, the wrong person was
14              convicted. And, you know, I’m going to sleep with this on my heart all the time.
15              I would not have took a year in this jail and admitted to something that I did not
16              do. Period. I just want to say, I didn’t do it. I didn’t do it.”
17        136. Judge Carol Yaggy sentenced Mr. Trulove, saying, “Mr. Trulove, your actions in
18              this case were unspeakably vicious and brutal . . . By these callous acts, you have
19              forfeited your right to live here in this community for many years.”
20
21   Mr. Trulove learns of SFPD misconduct in his case from Oliver Barcenas
22        137. After Jamal Trulove was convicted in January 2010 and awaiting sentencing in
23              San Francisco County Jail, he was placed in a 12-person cell. A young man
24              named Oliver Barcenas was also housed in this cell.
25        138. Mr. Trulove and Mr. Barcenas are from different parts of the city, of different
26              ethnicities, and had no connection prior to being housed together.
27
28

     COMPLAINT, Case No.                                                                    Page 24
 1       139. While in this cell together, Mr. Barcenas saw Jamal Trulove’s large neck tattoo
 2             that reads “Cheryl Trulove.” Mr. Barcenas remembered the name “Trulove” as
 3             he had heard it years before, while he was sitting at Ingleside Station on the
 4             night of July 23-24, 2007.
 5       140. On that night, July 23-24, 2007, Mr. Barcenas was brought to Ingleside Station
 6             and handcuffed to a bench in an open room. While he was sitting there, he saw
 7             John Doe #1, a white, male officer dressed in plain-clothes, with a uniformed
 8             female officer with short hair, Officer Carla Lee. With these two officers was a
 9             “Samoan lady or girl” who was heavy built, with her hair in a bun.
10       141. Mr. Barcenas recalled that he first heard the name “Trulove” from John Doe #1.
11       142. Mr. Barcenas testified that John Doe #1 held a clipboard, and was pointing out
12             something on the clipboard to the Samoan woman. As he was pointing, the
13             officer asked this woman, “Are you sure it wasn’t Trulove?”
14       143. Mr. Barcenas testified that at the time he thought the first name was something
15             like “Jeremiah or Jermaine.” Mr. Barcenas definitely remembered the name
16             “Trulove” as “the last name was distinctive. I never heard a last name like that,
17             Trulove.”
18       144. Mr. Barcenas could not see what was on this clipboard that was being shown to
19             this Samoan woman. He recalled that she responded to this repeated
20             suggestion that it was “Trulove” with, “No I don’t know.”
21       145. In response to this, John Doe #1 held his hand over his eyes and pulled his hand
22             down his face. Mr. Barcenas testified that John Doe #1 looked “frustrated” by
23             the woman’s response.
24       146. Mr. Barcenas was able to draw a diagram of the room at the Ingleside Police
25             Station where this occurred. He could hear this conversation because he was
26             only 10-12 feet away from this unfolding scene.
27
28

     COMPLAINT, Case No.                                                                 Page 25
 1       147. Mr. Barcenas did not think about this conversation for three years until he saw
 2             Jamal Trulove and read the tattoo of his mother’s name on his neck.
 3       148. Police reports reveal that Mr. Barcenas was, in fact, arrested on Mission Street
 4             on July 23, 2007. Mr. Barcenas and his co-defendant were brought to Ingleside
 5             Station on the night of July 23 to 24th, 2007 and he was there at the same time
 6             as Ms. Lualemaga.
 7       149. Police reports also revealed that Ms. Lualemaga was brought to Ingleside
 8             Station by Officer Lee.
 9
10       Appeal and Reversal
11       150. Mr. Trulove’s family, who always believed in his innocence, hired attorney Marc
12             Zilversmit to represent Mr. Trulove on appeal.
13       151. In September 2013, the California Court of Appeal upheld Trulove’s convictions,
14             but reduced the murder conviction from first-degree to second-degree murder.
15       152. Mr. Zilversmit petitioned the court to rehear the case and the appellate court
16             agreed. On January 6, 2014, the First District Court of Appeal filed its opinion
17             reversing Jamal Trulove’s conviction and sentence. The appellate court held
18             that the prosecution had committed misconduct by arguing that Ms. Lualemaga
19             had faced threats which caused her to fear for her life.
20       153. The appeals court, in a unanimous opinion written by Presiding Justice Anthony
21             Kline, said the prosecution “did not present a scintilla of evidence” of any
22             threats. “This yarn was made of whole cloth.” The court held that the
23             prosecution’s argument was improper and likely prejudiced the jury.
24       154. The Attorney General petitioned the California Supreme Court for Review. On
25             April 16, 2014, the Supreme Court declined review and on April 21, 2014, the
26             remittitur issued. Mr. Trulove returned to San Francisco County Jail, awaiting
27             his re-trial.
28

     COMPLAINT, Case No.                                                                  Page 26
 1
 2   Re-Trial
 3        155. Mr. Trulove’s re-trial began in January 2015.
 4        156. Ms. Lualemaga again testified and identified Trulove as the gunman who shot
 5              Seu Kuka running downhill from east to west.
 6        157. Regarding her fear in testifying, on cross-examination, Ms. Lualemaga testified
 7              that: 1) Jamal Trulove had never threatened her; 2) nobody associated with
 8              Jamal Trulove had ever threatened her; and 3) nobody ever threatened her in
 9              connection with being a witness in this case. She testified that her fears were
10              based on other things she had seen on television, unrelated to this case.
11
12   Forensic evidence disproves the case against Mr. Trulove
13        158. At Mr. Trulove’s re-trial, a crime scene reconstruction and ballistics expert,
14              James Norris, and forensic pathologist, Dr. Judy Melinek, each testified that
15              based on their analysis of the casings and the bullet entry wounds and wound
16              trajectories, the only reasonable interpretation of the evidence was that Kuka
17              was shot from someone who was below him, running up the street—not down
18              the street as Ms. Lualemaga thought—and from west to east, not east to west.
19        159. Mr. Norris, the former director of the San Francisco Crime Lab and an expert in
20              crime scene reconstruction, testified regarding the ejection patterns of firearms,
21              the pattern of the casings found at the scene, and the bullet trajectories through
22              the body of Mr. Kuka. Mr. Norris testified that the pattern of the casings, found
23              in sandy soil, in a line leading up to the body of Mr. Kuka, along with the autopsy
24              findings, of the entrance and exit wounds of the bullets, revealed that the
25              shooter moved uphill toward Mr. Kuka in an east to west direction.
26        160. If Ms. Lualemaga actually saw what she thought she saw, the casings would
27              have been together in a group, uphill from the body. This group of casings
28

     COMPLAINT, Case No.                                                                    Page 27
 1             either would have been on the sidewalk or on the street, depending on how the
 2             gun was held.
 3       161. Dr. Judy Melinek worked at the San Francisco Medical Examiner’s office at the
 4             time of Mr. Kuka’s homicide and was in the autopsy theater during the autopsy.
 5             At the time of Mr. Trulove’s re-trial, Dr. Melinek was an Assistant Professor of
 6             Clinical Pathology at the University of San Francisco Medical Center and worked
 7             on a contract basis for the Alameda County Medical Examiner’s Office. Dr.
 8             Melinek also lectured nationally and internationally on anatomic and forensic
 9             pathology, training doctors and attorneys on neuropathology and wound
10             interpretation.
11       162. Dr. Melinek visited the scene of the homicide at night prior to testifying. After
12             reviewing all the forensic evidence, Dr. Melinek testified that the only
13             reasonable interpretation of the evidence was that Seu Kuka was shot and killed
14             by someone who was standing downhill at a distance from him. Dr. Melinek
15             testified that Priscilla Lualemaga’s version of events—that the shooter was
16             uphill from Seu Kuka and shot him from behind at close range—was
17             contradicted by the physical evidence.
18       163. Ms. Lualemaga was shown photographs taken from her window during
19             daytime. These photographs revealed that Ms. Lualemaga could not see far
20             enough down the street to see where the shooter was.
21       164. Dr. Kathy Pezdek, a professor and researcher since 1975 in the area of cognitive
22             psychology, testified regarding human memory and perception.
23       165. Dr. Pezdek opined that given the distance and lighting of the scene, the
24             exposure time available to Ms. Lualemaga to perceive events, her position in a
25             window with a limited view, her lack of focus on the person who got knocked
26             down, and the distractions of the scene, Ms. Lualemaga had an inability to
27
28

     COMPLAINT, Case No.                                                                  Page 28
 1             accurately perceive what actually happened—where the shots came from and
 2             who was the shooter.
 3       166. On March 11, 2015, Mr. Trulove was acquitted on all counts.
 4
 5       Mr. Trulove’s wrongful imprisonment
 6       167. At the time of Mr. Trulove’s arrest in October 27, 2008, he was living in Seaside,
 7             California with his two oldest sons, Milli and Jeremyah, and the boys’ mother,
 8             Martha. Milli was then 4 years old and Jeremyah was 18 months old.
 9       168. Jamal also had infant twins, a girl, Mo’neke, and a boy, Lamari’a. The twins had
10             just had their first birthday at the time of Mr. Trulove’s arrest.
11       169. Mr. Trulove was imprisoned in San Francisco County Jail until November 2010.
12             Just before his 26th birthday, Mr. Trulove was sent to San Quentin State Prison
13             (San Quentin). His four children were then 7, 3, and 2 years old.
14       170. Mr. Trulove was housed in the Reception Center at San Quentin for
15             approximately four months. Within a few days after he arrived at San Quentin,
16             guards announced to Mr. Trulove that he was going to be housed with a
17             notorious prisoner who had just left death row. Guards taunted Mr. Trulove
18             with this information.
19       171. Mr. Trulove, new to prison, was not then, nor ever was, a member of a prison
20             gang. He was a “civilian.”
21       172. However, this man that Mr. Trulove was housed with was allegedly a leader in a
22             black prison gang, known as “Kumi.”
23       173. Mr. Trulove, who had been in the cell first, had the bottom bunk. This is the
24             coveted bunk in a prison cell. Mr. Trulove’s new cellmate did not ask for the
25             bottom bunk, nor did Mr. Trulove offer the bottom bunk to his new cellmate.
26
27
28

     COMPLAINT, Case No.                                                                Page 29
 1       174. Members of Kumi viewed Mr. Trulove’s not giving the bottom bunk to this man
 2             as a sign of extreme disrespect. While at San Quentin, a member of Kumi
 3             stabbed Mr. Trulove in the stomach for this sign of disrespect.
 4       175. Mr. Trulove still bears the scar where the prison shank sliced open his
 5             abdomen.
 6       176. While in San Quentin, Mr. Trulove’s oldest son turned 8 years old and his
 7             second son had his third birthday. Mr. Trulove missed both of these birthdays.
 8       177. On his first day in the yard at San Quentin, a man was stabbed repeatedly in
 9             front of him. This man was cut up so badly that Mr. Trulove did not know
10             whether he survived. Mr. Trulove believed the perpetrators were members of
11             the Aryan Brotherhood. He was traumatized by seeing a man killed or almost
12             killed in front of him.
13       178. Because Mr. Trulove was sentenced to life, during his time in prison, he was
14             always housed in a Level 4 maximum-security prison.
15       179. Mr. Trulove left San Quentin State Prison in or around April of 2011. He was
16             moved to Calipatria State Prison, (Calipatria).
17       180. Calipatria is in far southern California. It takes over eight hours to drive from
18             the San Francisco Bay Area to Calipatria.
19       181. Mr. Trulove was at Calipatria State Prison for approximately one year. During
20             this time, Mr. Trulove’s family was never able to visit him. He did not see his
21             mother, father, girlfriend, friends, brothers, sister, nor any of his children.
22       182. Phone calls were extraordinarily difficult to get in Calipatria. Mr. Trulove rarely
23             had the opportunity to speak with his family while he was there.
24       183. While Mr. Trulove was in Calipatria, he saw repeated stabbings on the yard.
25             There were at least four riots by Latino prison gangs while Mr. Trulove was
26             there. When there was a riot, Mr. Trulove, like all non-involved prisoners,
27             would dive to the ground and attempt to crawl out of the way while guards shot
28

     COMPLAINT, Case No.                                                                    Page 30
 1             at prisoners. In the midst of some of these riots, he along with other prisoners,
 2             were pepper-sprayed.
 3       184. Mr. Trulove‘s time at Calipatria State Prison was similar to being in an active
 4             war zone.
 5       185. While he was in Calipatria, his oldest son turned 9, and his twins turned 4 years
 6             old. He missed both of these birthdays.
 7       186. Mr. Trulove requested a transfer as soon as he was able in order to be closer to
 8             his family.
 9       187. In or around April of 2012, Mr. Trulove was moved to Salinas Valley State
10             Prison (Salinas Valley). He was housed in C yard. Mr. Trulove spent the
11             remainder of his time in state prison in Salinas Valley.
12       188. Salinas Valley was then regarded as one of the most violent prisons in
13             California. When Mr. Trulove arrived, C yard was in lockdown and it was in
14             lockdown for almost one year after Mr. Trulove arrived.
15       189. There were riots between black and Latino prison gangs and, although Mr.
16             Trulove was a civilian, because he was African American he was also part of the
17             lockdown.
18       190. Lockdown meant that prisoners had to stay in their cell, approximately 6 feet by
19             9 feet, with their cellmate all day and night, every day and night. The tiny cells
20             had a bunk bed, shelves, and a toilet, so the walking area was the space between
21             the bunk bed and the shelves. This space was approximately two feet wide, just
22             enough for one person to walk down the bed and back again.
23       191. Prisoners were fed in their cells. During lockdown, packages that could be sent
24             from family members through designated vendors were not delivered. Canteen
25             was not available either.
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     COMPLAINT, Case No.                                                                  Page 31
 1       192. Prisoners were taken out to shower every two to three days, but sometimes it
 2             would be every four days. In order to shower, prisoners would be handcuffed
 3             naked to the shower wall.
 4       193. Mr. Trulove had to take birdbath showers by using the toilet water to clean
 5             himself. Toilet water would also be used to clean one’s underwear and clothing.
 6             Because canteen was not available, soap and laundry detergent was extremely
 7             limited and sometimes unavailable.
 8       194. Mr. Trulove had to be in “high alert” the entire time he was in prison, but
 9             especially at Salinas Valley. He would go to school, but there was little
10             opportunity for learning. Mr. Trulove would always try to stay alert for prison
11             gossip so that if he heard there was trouble between rival gangs, he could stay
12             in his cell and avoid the danger.
13       195. While in Salinas Valley, Mr. Trulove’s oldest son turned 9, then 10, then 11 years
14             old. His second son turned 5, then 6, then 7 years old. His twins turned 5, then 6
15             years old. Mr. Trulove missed all of these birthdays.
16       196. At the time Mr. Trulove was arrested, he was living with his two oldest sons and
17             remained in close contact with his infant twins. While in Seaside, he would
18             walk his oldest son to school.
19       197. While Mr. Trulove was incarcerated and could not help to support them
20             financially, the mother of his two oldest children could no longer manage to
21             maintain permanent housing in Monterey. They moved to Sacramento, then out
22             of state. Mr. Trulove’s oldest son attended no less than 6 elementary schools
23             while Mr. Trulove was in prison.
24       198. Mr. Trulove’s two oldest sons eventually moved with their mother to Las Vegas,
25             Nevada, where they remain now.
26       199. Mr. Trulove was incarcerated when his oldest son was not yet five, his second
27             son was 18 months, and his twins still infants. Mr. Trulove was a stranger to his
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     COMPLAINT, Case No.                                                                   Page 32
 1             children when he was released from custody. His oldest son barely
 2             remembered him and his younger children only knew him from rare prison
 3             visits.
 4       200. Mr. Trulove bears the psychological scars of being in custody for over six years
 5             and Mr. Trulove’s children lost their father for six years.
 6       201. Mr. Trulove also bears the psychological scars of being tried twice for a crime
 7             that he did not commit.
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 9                                              DAMAGES
10       202. Defendants’ actions deprived Jamal Rashid Trulove of his civil rights under the
11             First, Fourth, Fifth, and Fourteenth Amendments to the United States
12             Constitution, and the constitution and laws of the State of California.
13       203. This action seeks damages for the period from October 27, 2008 through each
14             and every year to the present. Mr. Trulove’s liberty was curtailed upon his
15             arrest on October 27, 2008. He remained incarcerated until March 11, 2015.
16             The damages suffered by Mr. Trulove began in 2008 and continue to the
17             present.
18       204. Defendants’ unlawful, intentional, willful, deliberately indifferent, reckless,
19             and/or bad-faith acts and omissions caused Mr. Trulove to be falsely arrested,
20             tried, wrongfully convicted, and incarcerated for over six years for a crime he
21             did not commit.
22       205. Defendants’ unlawful, intentional, willful, deliberately indifferent, reckless,
23             and/or bad-faith acts and omissions caused Mr. Trulove the following injuries
24             and damages, which continue to date and will continue into the future: personal
25             injuries; pain and suffering; severe mental anguish; emotional distress; loss of
26             family relationships; severe psychological damage; damage to business and
27             property; legal expenses; loss of income; infliction of physical illness;
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 1             inadequate medical care; humiliation, indignities and embarrassment;
 2             degradation; permanent loss of natural psychological development; and
 3             restrictions on all forms of personal freedom including but not limited to diet,
 4             sleep, personal contact, educational opportunity, vocational opportunity,
 5             athletic opportunity, personal fulfillment, sexual activity, family relations,
 6             reading, television, movies, travel, enjoyment, and expression, for which he is
 7             entitled monetary relief.
 8       206. Mr. Trulove suffered a number of physical injuries while wrongfully
 9             incarcerated, including but not limited to being stabbed in the stomach by
10             another inmate, and resulted in permanent scarring, and developing anxiety.
11       207. As a result of his wrongful incarceration, Mr. Trulove missed the opportunity to
12             parent his four children. As Mr. Trulove’s children were all under the age of five
13             when he was arrested, they barely remembered him when he was released
14             from custody. Mr. Trulove was a stranger to his children and continues to
15             struggle to develop a relationship with them as a result.
16       208. These injuries and damages to Mr. Trulove were foreseeable to Defendants at
17             the time of their acts and omissions.
18       209. Pursuant to California Government Code § 825(a), Defendants are entitled to
19             indemnification because their individual liability and acts of misconduct arose
20             from acts and omissions within the course and scope of their employment with
21             the City and County of San Francisco.
22       210. All of the acts and omissions committed by Defendants were done intentionally,
23             unlawfully, maliciously, wantonly, recklessly, negligently and/or with bad faith,
24             and said acts meet all of the standards for imposition of punitive damages.
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     COMPLAINT, Case No.                                                                   Page 34
 1                                           COUNT I
 2          42 U.S.C. § 1983 claim for deprivation of liberty without due process of law
 3             and violation of right to a fair trial, under the Fourteenth Amendment
 4          211. Plaintiff hereby incorporates each of the allegations of this Complaint as if
 5             fully set forth herein, and further alleges as follows:
 6          212. Defendants fabricated false evidence of Mr. Trulove’s guilt and suppressed
 7             exculpatory and material evidence of Mr. Trulove’s innocence, thereby
 8             violating Mr. Trulove’s right to a fair trial and causing him to be deprived of his
 9             liberty without due process of law.
10          213. Rather than conduct an adequate investigation, Defendants, individually and
11             in concert, acted in a manner that shocks the conscience and followed through
12             with the unlawful prosecution of Mr. Trulove, thereby depriving Mr. Trulove of
13             his right not to be deprived of liberty without due process of law.
14          214. Defendants fabricated evidence prior to trial, including Priscilla Lualemaga’s
15             and Latisha Meadows-Dickerson’s identifications, and they did so knowingly or
16             in reckless disregard for the truth. Both identifications were used to prosecute
17             Mr. Trulove. This evidence was actually false; Mr. Trulove did not kill Mr. Kuka.
18             Ms. Lualemaga’s statements were then used at trial and, as the only evidence
19             linking Mr. Trulove to the crime, most likely would have created a different
20             result at trial.
21            a. Defendants, individually and in concert, deliberately misrepresented witness
22               statements. In particular, Defendants misrepresented the strength and
23               circumstances of Priscilla Lualemaga’s identification of Mr. Trulove, and
24               suppressed that Ms. Lualemaga had failed to identify Mr. Trulove on two
25               prior occasions when shown his photo. Defendants also misrepresented the
26               strength and circumstances of Latisha Meadows Dickerson’s identification of
27               Mr. Trulove, and suppressed that it was impossible for Ms. Meadows
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     COMPLAINT, Case No.                                                                  Page 35
 1               Dickerson to have seen Mr. Kuka’s shooting from where she said she was
 2               located and that she stated multiple times in her statement that the shooting
 3               happened while it was still light out.
 4            b. Defendants, individually and in concert, used identification procedures that
 5               were so suggestive that they knew or should have known that those
 6               techniques would yield false information. For example, Defendants
 7               pressured Ms. Lualemaga to identify Mr. Trulove. Defendants also pressured
 8               Mr. Meadows Dickerson to identify Mr. Trulove, and did so instead of
 9               arresting her for carrying a weapon, her third “strike.”
10          215. In addition to fabricating evidence, Defendants, individually and in concert,
11             in an effort to secure Mr. Trulove’s conviction without regard to his actual
12             innocence, suppressed material, exculpatory information from Mr. Trulove, Mr.
13             Trulove’s defense counsel, and the prosecution in violation of the Constitution
14             and Brady v. Maryland.
15            a. Defendants, individually and in concert, failed to memorialize, intentionally
16               suppressed, and/or recklessly failed to disclose Ms. Lualemaga’s
17               conversation with two SFPD officers at Ingleside Station on July 24, 2007
18               where she was directly pressured to identify Mr. Trulove by being asked by
19               John Doe #1, “Are you sure it wasn’t Jamal Trulove?”
20            b. Defendants, individually and in concert, failed to memorialize, intentionally
21               suppressed, and/or recklessly failed to disclose Ms. Lualemaga’s
22               conversation with SFPD officers at her home on the evening of July 24, 2007.
23            c. Defendants, individually and in concert, failed to memorialize, intentionally
24               suppressed, and/or recklessly failed to disclose Mr. Vaovasa’s statement to
25               police officers that contradicted Ms. Meadows-Dickerson’s statements.
26          216. Evidence of Defendants’ misconduct could have been used to undermine key
27             evidence relied on by Defendants in this investigation. Had it been disclosed, it
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     COMPLAINT, Case No.                                                                Page 36
 1             could have been used at trial to impeach Defendants as well as the quality of
 2             the entire investigation.
 3          217. Defendants’ actions, individually and cumulatively, played a direct and
 4             decisive role in the jury’s guilty verdict and were highly prejudicial to Mr.
 5             Trulove’s defense. Had Defendants’ misconduct been disclosed, the evidence
 6             would have tended to prove Mr. Trulove’s innocence, cast doubt on the entire
 7             police investigation and prosecution, and most likely would have created a
 8             different result at trial.
 9          218. The foregoing acts and omissions were deliberate, reckless, wanton, cruel,
10             motivated by evil motive or intent, done in bad faith, and/or involved callous
11             indifference to Mr. Trulove’s federally protected rights. These acts were
12             perpetrated while Defendants were acting in their capacities as employees or
13             agents of the City and County of San Francisco and under color of state law.
14          219. As a direct and proximate result of Defendants’ actions, Mr. Trulove was
15             wrongly arrested, detained, charged with murder, prosecuted, convicted,
16             sentenced to 50 years to life in prison, incarcerated for over six years and
17             suffered the other grievous injuries and damages set forth above.
18                                           COUNT II
19          42 U.S.C. § 1983 Claim for Malicious Prosecution and Violation of the
20                            Fourth and Fourteenth Amendments
21          220. Plaintiff hereby incorporates each of the allegations of this Complaint as if
22             fully set forth herein, and further alleges as follows:
23          221. The criminal proceedings initiated against Mr. Trulove in October of 2008
24             have been pursued to a legal termination favorable to Mr. Trulove. In
25             particular, in January 6, 2014, the First District Court of Appeal filed its opinion
26             reversing Jamal Trulove’s conviction and sentence. The Attorney General
27             petitioned the California Supreme Court for Review. On April 16, 2014, the
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 1             Supreme Court declined review and on April 21, 2014 the remittitur issued. On
 2             March 11, 2015, Mr. Trulove was acquitted on all counts.
 3          222. The criminal proceedings initiated against Mr. Trulove in October of 2008
 4             were brought without probable cause and without any reasonable belief in
 5             guilt.
 6          223. The false and tainted witness identifications failed to provide probable cause
 7             to arrest Mr. Trulove. Defendants were aware of this fact but nonetheless
 8             caused the arrest of Mr. Trulove, and subsequently, Defendants intentionally
 9             continued the prosecution against Mr. Trulove on the basis of fabricated
10             inculpatory evidence and suppressed material exculpatory evidence, thereby
11             effecting a continuing seizure of Mr. Trulove in violation of his Fourth and
12             Fourteenth Amendment rights.
13          224. The criminal proceedings against Mr. Trulove were initiated on the basis of
14             Defendants intentional and knowingly false accusations, fabrication of
15             evidence, suppression of exculpatory evidence, and other malicious conduct.
16          225. In falsely arresting Mr. Trulove despite the absence of probable cause to
17             believe he had committed a crime, Defendants deprived Mr. Trulove of his
18             liberty prior to the preliminary hearing, and in maliciously prosecuting him
19             despite the absence of probable cause or existence of other evidence linking
20             Mr. Trulove to the crime, Defendants caused Mr. Trulove to suffer the indignity
21             of a public trial twice, the most severe continuing deprivation of liberty, 6
22             years of emotional distress while serving prison time for a crime he did not
23             commit, and the other injuries and damages set forth above.
24          226. The criminal proceedings against Mr. Trulove were initiated with malice in
25             that Defendants caused the charges against Mr. Trulove to be filed by
26             knowingly providing the prosecution misinformation, concealing exculpatory
27             evidence, and otherwise engaging in wrongful and bad faith conduct that was
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     COMPLAINT, Case No.                                                                 Page 38
 1             actively instrumental in causing the initiation of the legal proceedings against
 2             Mr. Trulove.
 3          227. Defendants’ wrongful prosecution of Mr. Trulove, which was initiated with
 4             malice and without probable cause, and was brought for the purpose of
 5             denying Mr. Trulove’s constitutional rights, including his right to be free from
 6             unreasonable searches and seizures, and his right to not be deprived of liberty
 7             without due process of law.
 8          228. As a direct and proximate result of Defendants’ actions, Mr. Trulove was
 9             wrongly prosecuted, detained, and incarcerated for over six years and suffered
10             the other grievous injuries and damages set forth above.
11
12                                             COUNT III
13                       42 U.S.C. § 1983 Civil Rights Conspiracy Claim
14          229. Plaintiff hereby incorporates each of the allegations of this Complaint as if
15             fully set forth herein, and further alleges as follows:
16          230. Defendants and others yet unknown agreed among themselves and others to
17             act in concert to deprive Mr. Trulove of his clearly established constitutional
18             rights as protected by the Fourth, Fifth, and Fourteenth Amendments,
19             including his right not to be deprived of liberty without due process of law and
20             be free from illegal seizure.
21          231. As described in detail above, in furtherance of the conspiracy, Defendants
22             engaged in and facilitated numerous overt acts in furtherance of the
23             conspiracy, including but not limited to the following:
24            a. Acting in concert to suggest, coerce, and/or fabricate Ms. Lualemaga and Ms.
25               Meadows Dickerson’s identifications of Mr. Trulove;
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 1            b. Acting in concert to conceal that Ms. Lualemaga’s identification had been
 2               tainted, and had been exchanged for the promise of payment of all of her and
 3               her family’s living expenses. and
 4            c. Acting in concert to fail to document Ms. Lualemaga’s conversations with
 5               police on July 23-24, 2007 and July 24, 2007 where she was directly
 6               pressured into identifying Mr. Trulove.
 7          232. As a direct and proximate result of Defendants’ overt acts, Mr. Trulove was
 8              deprived of his constitutional rights; wrongly prosecuted, detained, and
 9              incarcerated for over six years; and subjected to other grievous injuries and
10              damages as set forth above.
11                                            COUNT IV
12     42 U.S.C. § 1983 claim pursuant to Tatum v. Moody for Failure to Disclose Highly
13      Significant Exculpatory Information Leading to Plaintiff’s Continued Detention
14          233. Plaintiff hereby incorporates each of the allegations of this Complaint as if
15              fully set forth herein, and further allege as follows:
16          234. Pursuant to Tatum v. Moody, 768 F.3d 806 (9th Cir. 2014) cert. denied, 135 S.
17              Ct. 2312, 191 L. Ed. 2d 978 (2015), Defendants failed to disclose exculpatory
18              evidence to prosecutors leading to Mr. Trulove’s lengthy detention, in violation
19              of Mr. Trulove’s right to due process.
20          235. As mentioned above, Defendants failed to disclose conversations with Ms.
21              Lualemaga at Ingleside Station on July 23-24, 2007 and at Ms. Lualemaga’s
22              home on July 24, 2007 where, upon information and belief, officers directly
23              pressured Ms. Lualemaga to identify Jamal Trulove as the shooter in the
24              homicide of Seu Kuka.
25          236. Defendants knew the sole evidence used against Mr. Trulove was Ms.
26              Lualemaga’s identification of Mr. Trulove as the shooter. Had Defendants
27              disclosed that their conversations with Ms. Lualemaga in which they
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 1             manipulated Ms. Lualemaga into misidentifying Mr. Trulove as the shooter, this
 2             evidence would have tended to prove Mr. Trulove’s innocence, cast doubt on
 3             the entire police investigation and prosecution, and led to the end of Mr.
 4             Trulove’s pre-trial detention.
 5          237. Defendants performed the above-described acts under color of state law,
 6             deliberately, intentionally, with malice or reckless disregard for the truth and
 7             Mr. Trulove’s rights and with deliberate indifference to Mr. Trulove’s clearly
 8             established constitutional rights. No reasonable officer in 2007 would have
 9             believed this conduct was lawful.
10          238. As a direct and proximate result of Defendants’ conduct, Mr. Trulove was
11             wrongly and maliciously prosecuted, denied bail and suffered a prolonged pre-
12             trial detention during the more than 16 months that he was jailed, from
13             October 27, 2008 until March 9, 2010 as well as the other grievous and
14             continuing damages and injuries set forth above.
15
16                                           COUNT V
17                         42 U.S.C. § 1983 Supervisory Liability Claim
18     Against Defendants Maureen D’Amico, Michael Johnson, Donna Meixner, John F.
19               Murphy, Michael Stasko, Stephen Tittel, and John Does 2-10
20          239. Plaintiff hereby incorporates each of the allegations of this Complaint as if
21             fully set forth herein, and further allege as follows:
22          240. Mr. Trulove’s wrongful arrest, confinement, prosecution, trial, conviction,
23             and incarceration was caused by the unconstitutional action and inaction of
24             Maureen D’Amico, Michael Johnson, Donna Meixner, John F. Murphy, Michael
25             Stasko, Stephen Tittel, and John Does 2-10, acting in their individual capacities
26             and under color of law.
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 1          241. Upon information and belief, D’Amico, Johnson, Meixner, Murphy, Stasko,
 2             Tittel and John Does 2-10 directly participated in the misconduct that resulted
 3             in Mr. Trulove’s wrongful conviction, including but not limited to coercing,
 4             fabricating, or suggesting false identifications and suppressing exculpatory
 5             evidence.
 6          242. D’Amico, Johnson, Meixner, Murphy, Stasko, Tittel and John Does 2-10
 7             knowingly refused to terminate the wrongful prosecution of Mr. Trulove,
 8             which, upon information and belief, they knew or should have known had been
 9             initiated based on the coerced, fabricated, or suggested identifications and in
10             spite of suppressed exculpatory information. As a result D’Amico, Johnson,
11             Meixner, Murphy, Stasko, and Tittel knew or reasonably should have known
12             that Mr. Trulove’s constitutional rights to be free from unreasonable seizure
13             and not to be deprived of liberty without due process of law would be violated.
14          243. D’Amico, Johnson, Meixner, Murphy, Stasko, Tittel and John Does 2-
15             10culpably failed to adequately train, supervise, an/or control their
16             subordinates, who obtained coerced, fabricated, or suggested identifications,
17             and suppressed exculpatory information.
18          244. D’Amico, Johnson, Meixner, Murphy, Stasko, Tittel and John Does 2-10
19             violated Mr. Trulove’s constitutional rights by acquiescing in the deprivation of
20             Mr. Trulove’s constitutional rights by their subordinates, and by generally
21             showing a reckless or callous indifference to Mr. Trulove’s rights.
22          245. D’Amico, Johnson, Meixner, Murphy, Stasko, Tittel and John Does 2-10’s
23             failure to train, supervise, and/or control their subordinates, their indifference
24             to the actions of their subordinates, and their indifference to Mr. Trulove’s
25             rights, encouraged and permitted their subordinates to fabricate evidence and
26             to fail to document and to disclose exculpatory evidence.
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     COMPLAINT, Case No.                                                                 Page 42
 1          246. The actions and omissions of Defendants D’Amico, Johnson, Meixner,
 2             Murphy, Stasko, Tittel and John Does 2-10, in their individual capacities,
 3             caused Mr. Trulove to suffer the constitutional deprivations and grievous
 4             personal injuries and damages described above.
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     COMPLAINT, Case No.                                                                Page 43
 1                                            COUNT VI
 2      42 U.S.C. § 1983 Monell Claim Against the City and County of San Francisco, for
 3       Failure to Train, Supervise, and/or Discipline in Constitutionally Adequate
 4        Investigation Techniques, Identification Procedures, and/or Brady duties
 5          247. Plaintiff hereby incorporates each of the allegations of this Complaint as if
 6              fully set forth herein, and further allege as follows:
 7          248. The City and County of San Francisco, by and through its policymakers,
 8              created and maintained a custom, policy and/or practice of failing to train,
 9              supervise, and/or discipline their employees and agents, including Defendants,
10              regarding constitutionally adequate investigation techniques.
11          249. The City and County of San Francisco, by and through its policymakers,
12              created and maintained a custom, policy and/or practice of failing to train,
13              supervise, and/or discipline their employees and agents, including Defendants,
14              regarding constitutionally proper identification procedures and to ensure that
15              unreliable, discredited, and improper identification techniques were not
16              utilized.
17          250. The City and County of San Francisco, by and through its policymakers,
18              created and maintained a custom, policy and/or practice of failing to train,
19              supervise, and/or discipline their employees and agents, including Defendants,
20              regarding their obligations to document and disclose exculpatory evidence
21              pursuant to their Brady obligations.
22          251. The unconstitutional customs, policies, patterns, and practices of the City and
23              County of San Francisco have caused numerous individuals to be wrongfully
24              convicted. In addition to Mr. Trulove, individuals wrongfully convicted
25              include:
26         a. John Tennison and Antoine Goff, convicted 1990, exonerated 2003: In 1989,
27            Roderick Shannon was chased in his vehicle by a number of men, beaten, and
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     COMPLAINT, Case No.                                                                  Page 44
 1            ultimately shot to death by one of these men. A witness contacted SFPD
 2            inspectors and identified Lovinsky Ricard as the shooter, and also indicated that
 3            neither of Tennison nor Goff had been present at the scene of the incident.
 4            Inspectors failed to disclose the identification of Ricard or exculpatory
 5            information regarding Tennison and Goff. Inspectors also encouraged witnesses
 6            to identify Tennison and Goff as being involved in the crime by promising them a
 7            reward of $2,500 from a Secret Witness Program. Tennison and Goff were
 8            ultimately convicted. A month following the conviction, while post-trial motions
 9            were still being heard by the trial court, other officers arrested Ricard on
10            unrelated drug charges, and questioned him. Ricard confessed to the Shannon
11            murder in a videotaped statement, which officers failed to disclose to the
12            prosecutor or defense attorney. This confession was only inadvertently revealed
13            during a new trial motion hearing. Thirteen years later, a federal court, on the
14            basis of this information, granted the two men habeas relief and they were
15            released.
16         b. Maurice Caldwell, convicted 1991, exonerated 2011: In 1990, Judy Acosta was
17            shot to death in the Alemany public housing project in San Francisco. A woman
18            named Mary Cobb said that she saw two men shoot at a car and she did not
19            know the names of the gunmen and that neither of them lived in the area. SFPD
20            officers brought Caldwell in handcuffs to the building where Cobb lived and
21            allowed her to see him. Cobb also saw Caldwell on one other occasion with
22            police. Soon after that, police said Cobb identified Caldwell as one of the gunmen.
23            Cobb was also heralded as a hero for defying alleged gang threats against
24            testifying and given a key to the city of San Francisco as well as a trip to Disney
25            World. She was also relocated, given a new job and $1,000. Caldwell was
26            convicted solely on the testimony of Cobb and sentenced to life in prison without
27            parole. In 2010, San Francisco Superior Court Judge Charles Haines granted a
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     COMPLAINT, Case No.                                                                     Page 45
 1            motion for new trial after lawyers from the Innocence Project presented
 2            evidence that it was physically impossible for Cobb to have seen anyone under
 3            the light pole from her apartment and a sworn affidavit from Marritte Funches
 4            admitting that he committed the crime and that Caldwell was not involved. The
 5            San Francisco District Attorney ultimately dismissed the case on March 28, 2011
 6            and Caldwell was released.
 7         c. Caramond Conley, convicted 1994, exonerated 2011: In 1989, Roshawn
 8            Johnson and Charles Hughes were killed in a drive-by-shooting that left 11
 9            others injured. Conley was convicted and sentenced to serve two life-without-
10            parole terms. SFPD investigators knew that the prosecution’s star witness,
11            Clifford Polk, lied on the stand about whether he was being paid, but they did
12            nothing to intervene. The lead investigator in the case, Earl Sanders, started
13            paying Polk, an unemployed transient with a history of drug dealing, three
14            months before Conley’s trial. The payments totaled thousands of dollars, and
15            police also provided Polk with the use of a house. San Francisco Superior
16            Court Judge Marla Miller ruled in December 2010 that Conley had been wrongly
17            convicted. He was released a month later.
18          252. These unconstitutional customs, policies, and practices of the City and
19             County of San Francisco proximately and directly caused Mr. Trulove’s physical
20             and constitutional injuries, including his false arrest, illegal confinement, unfair
21             trial, wrongful conviction, and other damages described above.
22
23                                          COUNT VII
24                         Claim under California Civil Code § 52.1 Against
25          Defendants Maureen D’Amico, Michael Johnson, Carla Lee, and John Doe #1
26          253. Plaintiff hereby incorporates each of the allegations of this Complaint as if
27             fully set forth herein, and further allege as follows:
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     COMPLAINT, Case No.                                                                  Page 46
 1          254. Defendants D’Amico, Johnson, Lee, and John Doe #1 interfered or attempted
 2              to interfere with Mr. Trulove’s rights secured by the U.S. and California
 3              constitution and laws. These constitutional violations were accompanied by
 4              threats, intimidation, or coercion.
 5          255. For example, D’Amico, Johnson, Lee, and John Doe #1 used threats,
 6              intimidation, and/or coercion in an attempt to obtain Ms. Lualemaga’s
 7              identification of Mr. Trulove.
 8          256. As a direct and proximate result of D’Amico, Johnson, Lee and John Doe #1’s
 9              threats, intimidation, and/or coercion, Mr. Trulove was deprived of his
10              constitutional rights; wrongly prosecuted, detained, and incarcerated for over
11              six years; and subjected to other grievous injuries and damages as set forth
12              above.
13
14                                           COUNT VIII
15            Claim under California State Law, Cal. Gov. Code § 815.2, for Respondeat
16       Superior and Vicarious Liability against the City and County of San Francisco
17          257. Plaintiff hereby incorporates each of the allegations of this Complaint as if
18              fully set forth herein, and further allege as follows:
19          258. Mr. Trulove suffered the aforementioned injuries as a proximate result of the
20              misconduct of the individual Defendants.
21          259. During all relevant times, Defendants were employees of the SFPD and the
22              City and County of San Francisco.
23          260. The acts and omissions of Defendants that proximately caused Mr. Trulove’s
24              injuries were within the scope of Defendants’ employment with the SFPD and
25              the City and County of San Francisco.
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27                                         JURY DEMAND
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 1              261. Pursuant to the Seventh Amendment of the United States Constitution, Mr.
 2                 Trulove requests a jury trial on all issues and claims set forth in this Complaint.
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 4                                         PRAYER FOR RELIEF
 5      WHEREFORE, Plaintiff Jamal Rashid Trulove respectfully requests:
 6         a.        A trial by jury on each of the Plaintiff’s claims;
 7         b.        That the Court award compensatory damages to Plaintiff and against Officer
 8         Defendants, jointly and severally, in an amount to be determined at trial;
 9         c.        That the Court award punitive damages to Plaintiff, and against Defendants,
10         in an amount to be determined at trial, in order to deter such conduct by Officer
11         Defendants in the future;
12         d.        For pre-judgment and post-judgment interest and recovery of costs,
13         including reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988 for all 42 U.S.C.
14         § 1983 claims; and
15         e.        For any and all other relief to which he may be entitled.
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 1      DATED: January 5, 2016
 2
 3                               By:    /s/ Kate Chatfield
 4
 5                               Nick J. Brustin,* NY Bar No. 2844405
 6                               Anna Benvenutti Hoffmann,* NY Bar No. 4412011
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10
11                               Kate Chatfield, State Bar No. 245403
12                               Alex Reisman, State Bar No. 45813
13                               LAW OFFICE OF CHATFIELD AND REISMAN
14
15                               Attorneys for Plaintiff
16                               JAMAL RASHID TRULOVE
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